Case 21-05166-grs      Doc 240     Filed 08/01/22 Entered 08/01/22 12:54:33            Desc Main
                                   Document     Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 LEXINGTON DIVISION

In re:                                           )
                                                 )
HDR FARMS INCORPORATED                           )                  Case No. 20-50888-grs
                                                 )
                              Debtor             )                  Chapter 11
                                                 )
                                                 )
HDR FARMS INCORPORATED                           )
LIQUIDATING TRUST                                )
                                                 )
                              Plaintiff          )
                                                 )
v.                                               )                  A.P. No. 21-05166-grs
                                                 )
APPLIED BOTANICS LLC f/k/a                       )
XSI USA, LLC, et al.                             )
                                                 )
                              Defendants         )
                                                 )

                   JOINT REPORT OF SETTLEMENT CONFERENCE
                                    *** *** ***
         Plaintiff HDR Farms Incorporated Liquidating Trust (“Plaintiff”), Defendant Cozen

O’Connor (“Cozen”), Defendant Kawel LauBach (“LauBach”), by and through their respective

counsel, and pursuant to paragraph 3 of the Order for Pretrial Conference [Doc. 179] provide this

joint report regarding their settlement efforts. The parties engaged in settlement discussions on

July 30, 2022. The parties have not reached a settlement. The parties believe that their respective

positions are too far apart rendering further settlement discussions unnecessary.
Case 21-05166-grs     Doc 240    Filed 08/01/22 Entered 08/01/22 12:54:33           Desc Main
                                 Document     Page 2 of 2



                                               Respectfully submitted,

                                               /s/ Charity S. Bird
                                               CHARITY S. BIRD
                                               TYLER R. YEAGER
                                               Kaplan Johnson Abate & Bird LLP
                                               710 W. Main St., 4th Floor
                                               Louisville, Kentucky 40202
                                               Telephone: (502) 416-1630
                                               Email: cbird@kaplanjohnsonlaw.com
                                               Email: tyeager@kaplanjohnsonlaw.com
                                               Counsel for Plaintiff

                                               /s/ Barry D. Hunter
                                               BARRY D. HUNTER
                                               ADAM R. KEGLEY
                                               Frost Brown Todd LLC
                                               250 West Main St., Suite 2800
                                               Lexington, Kentucky 40507
                                               Telephone: (859) 231-0000
                                               Email: bhunter@fbtlaw.com
                                               Email: akegley@fbtlaw.com
                                               Counsel for Defendant Cozen O’Connor

                                               /s/Marshall R. Hixson
                                               MARSHALL R. HIXSON
                                               CHRISANDREA TURNER
                                               Stites & Harbison, PLLC
                                               250 W. Main Street, Suite 2300
                                               Lexington, Kentucky 40507
                                               Telephone:
                                               Email: mhixson@stites.com
                                               Email: clturner@stites.com
                                               Counsel for Defendant Kawel LauBach


                                    Certificate of Service

       This document has been electronically filed and served via the Court’s ECF system August
1, 2022.
                                                /s/ Charity S. Bird
                                                CHARITY S. BIRD
                                                TYLER R. YEAGER
